 

UNITEI} STATF.S DlSTRlCT COURT

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NURTHERN DISTRICT OF ILLlNOIS §§ n 1
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ANnioNY sAFFoan ') §§ as m
) No.06C1256 gloss 75_2,
Plaintift`, § §§ §§ 0
n rn
Vs. ) ludge Kennelly § l_',r?_
) E\
THE CITY OF CFHICAGC), ) Magistrate Mason
A Municipal Corporation; and )
Cliicago Police U'l`ficers )
[)UANE GORDON, Star 5977'_; ) Jnry Demand
PHYLLIS CEILL, Star 1564; )
)
Del`endants. )

RF.LEASE AND SET'I`LEMENT AGREEMENT

 

Plaintiff, Anthony Safford, by his attorney, Lawrence V. Jackowiak, and the City of

Chicago, by its attorney, Mara S. Georges, Corporation Counael of the City ot` Cbicago, and

delendants, Dnane Gordon and Pllyllis Gill, by one of their attorney s, Margaret A. Carey_.

Senior Counsel, herein stipulate and agree to tlie following: t
l . This action has been brought by plaintil`l`, Antbony Sai`f`ord, against defendants,

City of Chicago, Doane Gordon and Pliyllis Gill, and makes certain allegations contained in

plaintist second amended complaint

2, Del`cndants deny each and every allegation ol`Wrongdoing as stated in plainti [`|"s
second amended complaint, and, fo_rtl'ier, deny liability.
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Tlie parties and their respective attorneys acknowledge that settlement ot`this
claim is not an admission of liability, or ot` unconstitutional or illegal conduct by or on thc part of

any defendant and/or tlie City ol`Cbicago’s future, current or former ol`l'"lcem, agents and

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employees, and shall not serve as evidence cr notice of any wrongdoing by or on the part of any
defendant and/or the City of Chieago’s future, current or fenner officers, agents and employccs.
The parties and their respective attorneys further acknowledge that settlement is made to avoid
the uncertainty of the outcome of litigation and the expense in time and money of further
litigation and for the purpose ol` jadiei al eeonomy. Plainti ff and his attorney agree that they or
any llrm with which said attorney is affiliated or with which said attorney may later become
affiliated shall not use this settlement as notice of misconduct on the part of any defendant and/or
the City of Chicago's future» current or former ofl'lccrs, agents and employees, or for any other
purpose in any other litigation, and that any such use is inconsistent 'With the terms of this
Release and Settlement Agreement.

4. In consideration of the hereinafter indicated settlement entered pursuant to this
Release and Settlement rl’*\greementp and upon advice of counsel, plaintiff, Anthony Sal`l'ord,
agrees tc dismiss with prejudice all of his claims against det`endants, City of Chicago, Duane
Gordon and Phyllis Gill, with each side bearing its own costs and attorneys' fees.

5. P’laintiff_1 Anthony Safford, accepts a settlement from defendant_, C'ity of Chicago,
in the total amount of FlFTEEN THC)USAND A`ND NO/ 100 (315,000.00) DOLLARS, with
each side bearing its own costs and attomeys’ l`ees.

ti. The City ol`{lhicago agrees to pay plaintiff the total settlement amount within
sixty (60) days alter receipt by the Corporation Counsel's Office cfa file-stamped copy ofthe
Agreed Order of Dismissal. This sum shall be payable solely by the City of Chicago, and

plainti [`|` and/or his attorney agree that they will not seek payment from any source other than the

 

 

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{Iity of Chicago. The settlement check will be made payable to plaintiff, his attomey, and lien
claimants, if any, of which the City has notice.

7_ ln consideration of this settlement entered pursuant to this R.elease and Settle'ment
Agreernent, and upon advice of counsel, plaintiff agrees to indemnify and hold harmless the City
of Chicagoj and its l`utttre_, current, or former officers, agents and employees including, but not
limited to, the individual defendants, Duane Gordon and Phyllis Gill, from any claims, Iosses,
damages or expenses, including attorneys’ fees and costs, incurred, or which may be incurred, by
reason of any lien or any other claim or interest held by any pcrson, entity or corporation against
any moneys received or to be received by plaintiff under this settlement entered pursuant to this
Release and Settlement Agreement.

S. Plaintiff, upon advice of counscl, understands and agrees that in consideration of
the settlement entered pursuant to this Rclease and Settlement: A.greement, plaintil`|`does hereby
release and forever discharge on behalf of himself and his heirs, executors_, administrators and
assigns, all claims he had or has against the individual de'fendants, Duanc Gordon and f’hy]lis
Gill, and the City ol`Chicago, and its future_, current or fenner officers, agents and emp`loyees,
including bttt not limited to all claims he had, has, or may have in the future, under local, state, or
federal law, arising either directly or indirectly otlt of the incident which was the basis ol` this
litigation, and that such release and discharge also is applicable to any and all unnamed and/or
unserved defendants.

9_ This Rclcasc and Settlement Agreement and any documents that may be executed
under paragraph 12 herein contain the entire agreement between the parties with regard to the

settlement of this action, and shall be binding upon and inure to the benefit of the parties liereto,

 

 

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jointly and severally, and the heirs, executors._, administrators, personal representatives
successors, and assigns of each.

lO. This Release and Settlement Agreement is entered into in the State of lllinois and
shall be construed and interpreted in accordance with its laws. Terms contained herein shall not
be construed against a party merely because that party is or was the principal drafter.

ll. l_n entering into this Release and Settlement Agreement, plaintiff represents that
he has relied upon the advice ofhis attorney, who is the attorney of his own choice, and that the
terms of this Release and Settlemcnt Agrcement have been interpreted, completely read and
explained to him by his attorney_, and that those terms are fully understood and voluntarily
accepted by plaintiff Plai.nti ff also represents and warrants that no other person or entity has or
has had any interest in the claims or causes of action referred to herein, that he and his attorney
have the sole right and exclusive authority to execute this R.elease and Settlement Agreement and
receive the sums specified hcrein, and that they have not sold, assigned, transferred, convcycd, or

otherwise disposed of any of the claims or causes of action referred to herein.

 

 

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12. All parties agree to cooperate fully and to execute a Stipulation to Dismiss and
any and all supplementary documents and to take all additional actions Which are consistent with
and Which may be necessary or appropriate to give full force and effect to the basic terms and

intent of this Release and Settlement Agreernent.

   

Mara f‘.i. Gcorges

Anthony Sall"or¢ Plaint .' Corporation counsel
Address: 472/3 ap _S` _5-;£()‘¢€ ¢F¢'MM#/E Attorney for City of Chicage

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"‘"Iv' - ' ant Ccrporation Counsel
V- 30 North La Salle Street, Suite 1610
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Lawrence V. J cltowiak, Attorney for Plainti f f (`312) 744-6922

33 N. LaSalle St,J Suite 2700
Chicago_, Illinois 60602
(31.2) 795-9595
Attorney No. é-Z rl/C.L)'?) '

x l Senior C unsel

*Providing SSN is voluntary Attorney for Defs. Gordon and Gill
30 North La Salle Street, Suite 1400
Chicago, lllincis 60602
(312) 744-seas
Attomey No. 06206693

Attorney No. 0627187

    

 

  

 

